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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )    Chapter 11
                                                           )
    FIRST GUARANTY MORTGAGE                                )    Case No. 22-10584 (CTG)
    CORPORATION, et al.,1                                  )
                                                           )    (Jointly Administered)
                                Debtors.                   )    Re: Docket Nos. 1043, 1047
                                                           )

                        SECOND AMENDED2 NOTICE OF AGENDA
                        OF MATTERS SCHEDULED FOR HEARING
             ON NOVEMBER 27, 2023 AT 10:00 A.M. (PREVAILING EASTERN TIME)
               BEFORE THE HONORABLE CRAIG T. GOLDBLATT IN THE U.S.
                    BANKRUPTCY COURT, 824 NORTH MARKET STREET,
                3rd FLOOR, COURTROOM 7, WILMINGTON, DELAWARE 19801


             AS NO MATTERS ARE GOING FORWARD, THE HEARING IS
                   CANCELLED AT THE COURT’S DIRECTION.



RESOLVED MATTER:

1.           Second Motion to Extend Deadline to Object to Claims (Filed October 31, 2023) [Docket
             No 1022]

             Response Deadline: November 15, 2023 at 4:00 p.m.

             Responses Received: None Received

             Related Documents:

             A.     Certificate of No Objection (Filed November 20, 2023) [Docket No. 1040]

             B.     Order [Signed] Extending Deadline to Object to Claims (Filed 11/21/23)
                    [Docket No. 1045]


1 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location
  of the corporate headquarters and the service address for First Guaranty Mortgage Corporation is 13901 Midway
  Road, Suite 102-334, Dallas, TX 75244.
2  Amended Items appear in Bold.



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          Status: As an Order has been entered. A hearing is not necessary.

CONTESTED MATTER:

2.       Fourth Omnibus Objection to Misclassified Claims (Substantive) (Filed October 20,
         2023) [Docket No 1000]

         Response Deadline: November 20, 2023 at 4:00 p.m.

         Responses Received:

         A.      Response in Opposition to Fourth Omnibus Objection to Claims (Substantive)
                 (related document(s)1000) (Filed November 17, 2023) [Docket No. 1037]

         Related Documents:

         A.      Notice of Submission of Proof of Claim in Connection with Fourth Omnibus
                 Objection to Misclassified Claims (Filed November 13, 2023) [Docket 1031]

         B.      Certification of Counsel Regarding Fourth Omnibus Objection to Claims
                 (Substantive) (Filed November 22, 2023) [Docket No. 1048]

         C.      [Signed] Order Regarding Fourth Omnibus Objection to Claims
                 (Substantive) (Filed November 27, 2023) [Docket No. 1053]

         Status:    An order has been entered.


     Dated: November 27, 2023                    PACHULSKI STANG ZIEHL & JONES LLP


                                                 /s/ Laura Davis Jones
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                                                 -and -




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